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                                                                                                      E-FILED
                                                                      Friday, 22 October, 2021 02:01:08 PM
                                                                               Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS
                                  PEORIA DIVISION
                         FILE NUMBER: 1:20-cv-01449-JBM-JEH

Anita Martin, as Independent Administrator )
of the Estate of Marlene Hill, deceased,   )
                                           )
                Plaintiff-Appellee,        )
                                           )
         vs.                               )        SEVENTH CIRCUIT RULE 3(c)
                                           )        DOCKETING STATEMENT OF
Petersen Health Operations, LLC, an        )        DEFENDANT-APPELLANT
Illinois Limited Liability Company d/b/a   )        PETERSEN HEALTH
Bloomington Rehabilitation & Health Care )          OPERATIONS, LLC
Center,                                    )
                                           )
                Defendant-Appellant.       )

    SEVENTH CIRCUIT RULE 3(c) DOCKETING STATEMENT OF DEFENDANT-
            APPELLANT PETERSEN HEALTH OPERATIONS, LLC

       Defendant-Appellant Petersen Health Operations, LLC d/b/a Bloomington Rehabilitation

& Health Care Center, by its undersigned counsel, hereby submits its Docketing Statement

pursuant to Circuit Rule 3(c) of the United States Court of Appeals for the Seventh Circuit

       I.      DISTRICT COURT JURISDICTION

       The United States District Court for the Central District of Illinois (the “District Court”)

has jurisdiction over the subject matter of this action pursuant to 28 U.S.C. § 1331 because

Plaintiff asserts a claim "arising under" and governed by federal law within the meaning of §

1331, and pursuant to 28 U.S.C. § 1442(a)(1) based on federal officer jurisdiction. The matter

was initially removed on the basis of 28 U.S.C.§§1331, 1441, 1442(a)(1) and 1446(a) all of

which would be involved in this appeal. See BP P.L.C., et al. v. Mayor and City Council of

Baltimore, 141 S. Ct. 1532 (2021).

       II.     APPELLATE COURT JURISDICTION
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       This appeal is taken from the District Court’s following order:

       (A)     An Order signed by District Judge Joe Billy McDade granting Plaintiff’s Motion
               to Remand, entered in this action on the 22nd day of September, 2021.

       The United States Court of Appeals for the Seventh Circuit has jurisdiction to hear this

appeal pursuant to 28 U.S.C. § 1294 and 28 U.S.C. § 1447(d) because this case was removed to

the District Court pursuant to 28 U.S.C. § 1442(a)(1).

       Defendant-Appellant Petersen Health Operations, LLC d/b/a Bloomington Rehabilitation

& Health Care Center filed its Notice of Appeal in the District Court on October 22, 2021.

       III.    PRIOR OR RELATED APPELLATE PROCEEDINGS.

       There have been no prior or related appellate proceedings in this case.

       IV.     ADDITIONAL REQUIREMENTS OF CIRCUIT RULE 3(c)(1).

       At all relevant times, Defendant was acting as a federal officer. Defendant, as a member

of the nation’s “critical infrastructure,” was at all relevant times acting at the specific direction

and within the oversight of the Federal government, including, but not limited to, the Department

of Health and Human Services, Agency for Healthcare Administration, Food and Drug

Administration, and the Center for Disease Control and Prevention, in addition to acting as a

program planner using and administering COVID-19 countermeasures, and operating and

managing a countermeasure program and countermeasure facility.

       This is a civil case that does not involve a criminal conviction nor a collateral attack on a

criminal conviction.

                                              Respectfully submitted,

                                              /s/ Joseph R. Wetzel
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                                 CERTIFICATE OF SERVICE

        This is to certify that on this 22nd day of October, 2021, I caused to be electronically
filed the foregoing DOCKETING STATEMENT required pursuant to Circuit Rule 3(c)(1) of the
United States Court of Appeals for the Seventh Circuit via the CM/ECF system, which sent
electronic notice to all counsel of record. Additionally, hard copies are being sent to the Court
via regular mail.


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Clerk of Court
United States District Court for the Central District of Illinois
100 N.E. Monroe, Room 305
Peoria, IL 61602



                                                               /s/ Joseph R. Wetzel
                                                               Joseph R. Wetzel




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